Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 1 of 7

UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

JOSEPH A. NINEHOUSER

Plaintiff,

y CIVIL ACTION - LAW

JEREMY READ, individually and in his NO. 1:23-CV-1639

official capacity as an officer for Lower
Allen Township Police Department and JURY TRIAL BY 12 DEMANDED

LOWER ALLEN TOWNSHIP d/b/a
Lower Allen Police Department

Defendants.

CERTIFICATE PREREQUISITE TO SERVICE OF SUBPOENAS TO PRODUCE
DOCUMENTS AND THINGS FOR DISCOVERY

As a prerequisite to service of subpoenas for documents and things, the undersigned certifies
that:

1. Notice of Intent to Serve Subpoena with a copy of the subpoena attached thereto was
emailed to Plaintiff prior to the date on which the subpoena is sought to be served.

2. Copy of the Notice of Intent, including the proposed subpoena is attached.
3. Counsel for Plaintiff has not objected to the proposed subpoena.

4. The subpoena which will be served are identical to the subpoena which is attached to
the Notice of Intent to serve the Subpoena.

FOWLER HIRTZEL MCNULTY &
SPAULDING, LLC

{W1704251.1)} 1
Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 2 of 7

. Ba VP YR

Date: February 26, 2024

Benjamin P. Novak, Esq. (ID #
326182)

1860 Charter Lane, Suite 201
Lancaster, PA 17601

Phone: (717) 696-0551

Fax: (717) 229-1239
bnovak@fhmslaw.com
Attorney for Defendants

{W1704251.1} 2
Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 3 of 7

UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

JOSEPH A. NINEHOUSER

Plaintiff,
y CIVIL ACTION - LAW

JEREMY READ, individually and in his NO. 1:23-CV-1639

official capacity as an officer for Lower
Allen Township Police Department and JURY TRIAL BY 12 DEMANDED

LOWER ALLEN TOWNSHIP d/b/a
Lower Allen Police Department

Defendants.

NOTICE OF INTENT TO SERVE A SUBPOENA TO PRODUCE DOCUMENTS
AND THINGS FOR DISCOVERY

To: Paul C. Siegrist, Esquire
Stone, Wiley, & Linsenbach, P.C.
PLEASE TAKE NOTICE that Defendants intend to serve a subpoena identical to the one

attached to this notice.

FOWLER HIRTZEL MCNULTY &
SPAULDING, LLC

( A | +
By: ho - ? GX

Benjamin P. Novak, Esq. (ID #
326182)
1860 Charter Lane, Suite 201

Date: February 20, 2024

(WH701204.1} 1
Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 4 of 7

{W1701204 t}

Lancaster, PA 17601
Phone: (717) 696-0551
Fax: (717) 229-1239
bnovak@fhmslaw.com
Attorney for Defendants

Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 5 of 7

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premiscs in a Civil) Action

UNITED STATES DISTRICT COURT
for the

Middle District of Pennsylvania
JOSEPH A. NINEHOUSER
Plaintiff

Vi Civil Action No. 1:23-CV-1639
JEREMY READ, et al

Defendant
SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: TELEHEALTH PCS - 618 Cumberland Street, Lebanon, PA 17042

(Name of person to whom this subpoena is directed)

Wf Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
Any and all records pertaining to Joseph Ninehouser, d/o/b 6/17/89 from dates of service 1/1/2019 through the

present
Place: Date and Time:
Fowler Hirtzel McNulty & Spaulding LLC SC Resa haste do
1860 Charter Lane, Suite 201, Lancaster, PA 17601 Bo vice of Siepige ra

©) Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: _ _ 02/20/2024 —

CLERK OF COURT
OR
/s/ Benjamin P. Novak
Signature of Clerk or Deputy Clerk Attorney's signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Defendants

, who issues or requests this subpoena, are:

Benjamin P. Novak, Esq. 1860 Charter Lane, Suite 201, Lancaster, PA 17601 bnovak@fhmslaw.com (717) 696-0551

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 6 of 7

CERTIFICATE OF SERVICE

I, Mallori A. Beiler, employee of Fowler Hirtzel McNulty & Spaulding,
LLC do hereby state that a true and correct copy of the foregoing document was

sent via electronic mail upon the following individual(s) on the date set forth

below:

Paul C. Siegrist, Esquire
Stone, Wiley, & Linsenbach, P.C.
3 N. Baltimore Street
Dillsburg, PA 17019
paul@SWLLawyers.com
Counsel for Plaintiff

FOWLER HIRTZEL McNULTY
& SPAULDING, LLC

Date: February 20, 2024 By: Mallori_A. Beiler
Mallori A. Beiler, Paralegal
1860 Charter Lane, Suite 201
Lancaster, PA 17601-5865
(717) 553-2600 ext. 306

(W1701204.1}
Case 1:23-cv-01639-CCC Document 21 Filed 02/26/24 Page 7 of 7

CERTIFICATE OF SERVICE

I, Mallori A. Beiler, employee of Fowler Hirtzel McNulty & Spaulding,
LLC do hereby state that a true and correct copy of the foregoing document was
sent via electronic mail upon the following individual(s) on the date set forth
below:

Paul C. Siegrist, Esquire
Stone, Wiley, & Linsenbach, P.C.
3 N. Baltimore Street
Dillsburg, PA 17019
paul(@@SWLLawyers.com
Counsel for Plaintiff

FOWLER HIRTZEL McNULTY
& SPAULDING, LLC

Date: February 26, 2024 By: Mallori_A. Beiler

Mallori A. Beiler, Paralegal
1860 Charter Lane, Suite 201
Lancaster, PA 17601-5865
(717) 553-2600 ext. 306

(W1704251,1}
